                Case 6:18-bk-03611-CCJ               Doc 14    Filed 07/30/18       Page 1 of 1
[Dostkamd] [Order Striking Amendment To Schedules]




                                        ORDERED.
Dated: July 30, 2018




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                   Case No. 6:18−bk−03611−CCJ
                                                                         Chapter 7
Kenneth C Cameron



________Debtor*________/

                               ORDER STRIKING AMENDED SCHEDULE C

  THIS CASE came on for consideration, without hearing, of the Amended Schedule C filed July 26, 2018,
Doc. No. 12. The Amended Schedule C is deficient as follows:

         The Amended Schedule C does not contain an appropriate unsworn declaration with signature
         of the Debtor in compliance with Fed. R. Bankr. P. 1008.

   Accordingly, it is ORDERED:

   The Amended Schedule C is stricken without prejudice and with leave to refile after having cured these
deficiencies.

The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
